Case 1:13-cv-07410-RBK-KMW Document 122 Filed 08/07/15 Page 1 of 3 PageID: 4869



                       UNITED STATES DISTRICT COURT

                          DISTRICT OF NEW JERSEY

                          MINUTES OF PROCEEDINGS

 CAMDEN OFFICE:                           DATE OF PROCEEDINGS: 8/6/15


 JUDGE: Robert B. Kugler

 COURT REPORTER: Carl Nami, Jr.

 OTHERS:                            DOCKET NOS. Civ. #13-784, 12-7468,
                                                12-7747, 13-3350, 13-
                                                3244,13-4569, 13-5763,
                                                13-7410
 TITLE OF CASE:

 IN RE: PAULSBORO DERAILMENT CASES


 APPEARANCES:
 Mark Cuker, Esq. for pltfs. Breeman, Morris, et al.
 Michael Levin, Esq. for Truluck pltfs.
 Robert Campbell, Esq. for pltfs. Lord
 Daniel Donahoe, Esq. for defts.
 Lisa Rodriguez, Esq. for defts.
 David A. Damico, Esq. for defts.



 NATURE OF PROCEEDINGS: - DAUBERT HEARING HELD

 1.    Hearing on motion in limine by defts. Consolidated Rail, et
       al.to exclude the expert report & testimony of O. Osinubi,
       M.D.

 2.    Hearing on motions in limine by defts. Consolidated Rail, et
       al. to exclude expert report & testimony of Robert Laumbach,
       M.D., M.P.H., C.I.H.

       Dr. Douglas Leonard Weed sworn for defts.
       Dr. Michael J. Greenberg sworn for defts.

 3.    Hearing on motion in limine by defts. Consolidated Rail, et
       al. to exclude expert report & testimony of Aly Cohen, M.D.

                                    (over)
Case 1:13-cv-07410-RBK-KMW Document 122 Filed 08/07/15 Page 2 of 3 PageID: 4870



 4.    Hearing on motion in limine by defts. Consolidated Rail
       Corp., et al. to exclude the expert report & testimony of
       Lee Brooks, M.D.

 5.    Hearing on motion in limine by defts. Consolidated Rail
       Corp, to exclude expert report & testimony of pltfs.’ expert
       David A. Raush, Ph.D.

 6.    Hearing on motion in limine by A.M. a minor Daniel J. Abate,
       Sr., et al. to exclude expert report and opinion of Panzer.


 DISPOSITION:

 1.    ORDERED   motion   GRANTED.
 2.    ORDERED   motion   GRANTED.
 3.    ORDERED   motion   GRANTED.
 4.    ORDERED   motion   GRANTED.
 5.    ORDERED   motion   DENIED.
 6.    ORDERED   motion   DENIED.

 ORDERED pending motions for summary judgment will take place on
 8/20/15 @ 9:30 AM.

 Order entered.




                                     s/Barbara Fisher
                                        Deputy Clerk


 Time Commenced: 9:45 AM             Time Adjourned: 4:50 PM
Case 1:13-cv-07410-RBK-KMW Document 122 Filed 08/07/15 Page 3 of 3 PageID: 4871
